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                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA

Spartanburg Regional Health Services         )
District, Inc. d/b/a Spartanburg Regional    )
Healthcare System, Spartanburg Regional      )
Medical Center, Spartanburg Hospital for     )
Restorative Care, and B.J. Workman           )
Memorial Hospital, on behalf of themselves   )
and others similarly situated,               )
                                             )
                               Plaintiff,    )       C.A. No. 7:03-2141-HFF
                                             )
              vs.                            )
                                             )
Hillenbrand Industries, Inc., Hill-Rom, Inc. )
and Hill-Rom Company, Inc.,                  )
                                             )
                               Defendants. )

                                             ORDER

        This matter comes before the Court on the motion of the Plaintiff to authorize the

Settlement Administrator to pay certain class members their pro rata shares of the Net Settlement

Fund (the "Fund") and to authorize cy pres distribution of remaining settlement funds to NXT,

Inc.

        After consideration of the motion, it is, this _9th__ day of ___May________, 2008,

hereby ORDERED as follows:

        1.     The Settlement Administrator is authorized to pay pro rata shares of the Fund to

WakeMed Health and Hospitals, Washington County Health System and Ms. Theresa Sbarra.

These claimants' pro rata shares shall be calculated in the same manner and in the same

proportion set forth in Class Counsel's April 2, 2007 Unopposed Motion to Authorize the

Settlement Administrator to Distribute the Net Settlement Fund in Pro Rata Shares to Class

Members with Approved Claims, as approved by the Court in its Order dated July 2, 2007. If the
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total amount remaining in the Fund at the time of such disbursement is insufficient to pay each

valid claim, the distributions to each such Class Member will be further pro-rated to reflect each

valid claimant's proportional share.

         2.     Subject to paragraph 3 below, the Settlement Administrator is authorized to make

a cy pres distribution to NXT, Inc. of all funds remaining in the Fund at the time of such

distribution.

         3.     Class Counsel shall file with the Court a Notice of Completed Administration and

Cy Pres Distribution (the "Notice"), along with an appropriate Order, within 10 days after the

occurrence of the all of the following: (i) all checks issued to Class Members have been

presented for payment, have expired or been abandoned; (ii) the Settlement Administrator's final

expenses have been paid; (iii) the Fund's U.S. income tax obligations have been satisfied; and

(iv) the Fund is ready for shutdown.

         It is further hereby ORDERED that Class Counsel is authorized, in conjunction with the

Settlement Administrator, to take such reasonable steps as may be necessary to give effect to this

Order.

         IT IS SO ORDERED.

         Signed this __9th__ day of __May____________, 2008, in Spartanburg, South Carolina.


                                                     s/Henry F. Floyd
                                                     HENRY F. FLOYD
                                                     UNITED STATES DISTRICT JUDGE
